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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                     CASE NO. 1:08cr10-SPM

FRANCISCO SAC,

     Defendant.
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                     ORDER CONTINUING SENTENCING

      THIS CAUSE comes before the Court on the Defendant’s Motion to

Continue Sentencing (doc. 381). Upon consideration, it is

      ORDERED AND ADJUDGED:

      1.     The motion (doc. 381) is granted.

      2.     Sentencing is reset for Tuesday, September 8, 2009, at 1:30 p.m.

at the United States Courthouse in Gainesville, Florida.

      DONE AND ORDERED this 28th day of July, 2009.



                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  Chief United States District Judge
